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               BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

            MDL NO. ____________________                     IN RE: ORAL PHENYLEPHRINE LITIGATION


                                                 SCHEDULE OF ACTIONS


                    Case Caption                              District            Case Number       Assigned Judge


Plaintiff:                                              Northern District of   3:23-cv-24250-TKW-     Hon. T. Kent
Steve Audelo                                            Florida, Pensacola             ZCB            Wetherell II,
                                                             Division                                  U.S.D.J.
Defendants:
Johnson & Johnson Consumer, Inc. and Procter &
Gamble


Plaintiffs:                                               District of New      2:23-cv-20370-KM-      Hon. Kevin
Erin Barton, Kimberly Buscaglia, Francis W. Catanese,     Jersey, Newark               JSA          McNulty, U.S.D.J.
and Samuel Gallo                                             Division

Defendants:
Reckitt Benckiser LLC, Kenvue Inc., McNeil
Consumer Healthcare, Procter & Gamble Company,
GlaxoSmithKline LLC, and Walgreens, Inc.

Plaintiff:                                              Central District Of      2:23-cv-07737         Unassigned
Jennifer Baughman                                       California, Western
                                                          Division - Los
Defendants:                                                   Angeles



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Johnson & Johnson Consumer Inc., Kenvue, Inc.,
Reckitt Benckiser LLC; and Procter & Gamble




Plaintiff:                                        Eastern District of   2:23-cv-05353-EEF-     Hon. Eldon E.
Kaycie Coppock                                     Louisiana, New              KWR            Fallon, U.S.D.J.
                                                   Orleans Division
Defendants:
Procter & Gamble and Target Corporation


Plaintiff:                                        Eastern District of     2:23-cv-06870         Unassigned
Robyn Cronin                                      New York, Central
                                                    Islip Division
Defendants:
Johnson & Johnson Consumer, Inc. and Procter &
Gamble

Plaintiff:                                        Middle District of    2:23-cv-00727-SPC-   Hon. Sheri Polster
Kristen DePaola                                   Florida, Ft. Myers           KCD           Chappell, U.S.D.J.
                                                       Division
Defendants:
The Procter & Gamble Company and McNeil
Consumer Healthcare


Plaintiff:                                        Eastern District of   2:23-cv-05274-JTM-   Hon. Jane Triche
Robert Fichera                                     Louisiana, New              KWR           Milazzo, U.S.D.J.
                                                   Orleans Division
Defendants:


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The Procter & Gamble Company, Associated
Wholesale Grocers, Inc., and Valu Merchandisers Co.




Plaintiff:                                             Eastern District of    2:23-cv-05273-ILRL-     Hon. Ivan L.R.
Natalie Juneau                                          Louisiana, New                MBN            Lemelle, U.S.D.J.
                                                        Orleans Division
Defendants:
The Procter & Gamble Company and GSK Consumer
Healthcare, Inc.

Plaintiff:                                                District of        0:23-cv-02862-PJS-JFD   Chief Judge Patrick
Miesha McIntyre                                           Minnesota,                                      J. Schiltz
                                                      Minneapolis Division
Defendants:
Kenvue Inc., and McNeil Consumer Healthcare

Plaintiff:                                              District of New       3:23-cv-20379-ZNQ-      Hon. Zahid N.
Kamonica McWhite                                        Jersey, Trenton               RLS            Quraishi, U.S.D.J.
                                                            Division
Defendant:
Johnson & Johnson Consumer, Inc.




Plaintiff:                                             Eastern District of     2:23-cv-01965-AC       Magistrate Judge
Kenneth Levi Pack and Min Ji Jung                         California,                                  Allison Claire
                                                      Sacramento Division
Defendants:



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Johnson & Johnson Consumer, Inc.; GlaxoSmithKline
LLC; Reckitt Benckiser LLC; Bayer Healthcare LLC;
Sanofi- Aventis U.S. LLC; The Procter & Gamble
Company; Church & Dwight Co., Inc.; Walmart Inc.;
Target Corporation; CVS Pharmacy, Inc.; Walgreen
Co.; Albertsons Companies Inc.; Rite Aid Corporation;
Amazon.com, Inc.


Plaintiff:                                              Northern District of     1:23-cv-13796         Unassigned
Tina Tuominen                                            Illinois, Eastern
                                                        Division - Chicago
Defendant:
Johnson & Johnson Consumer, Inc.


Plaintiff:                                              Eastern District of    2:23-cv-06825-NGG-   Hon. Nicholas G.
Sandra Yousefzadeh                                      New York, Central              JMW          Garaufis, U.S.D.J.
                                                          Islip Division
Defendant:
Johnson & Johnson Consumer, Inc.




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